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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 United States of America, et al.,

                 Plaintiff,
                                            Case No. 1:20-cv-03010-APM
         v.3
                                            HON. AMIT P. MEHTA
 Google LLC,

                 Defendants.


 State of Colorado, et al.,

                 Plaintiffs,
                                            Case No. 1:20-cv-03715-APM
         v.
                                            HON. AMIT P. MEHTA
 Google LLC,

                 Defendant


                                     PROPOSED ORDER

       At the District of Columbia this ____ day of December, 2024, having considered the

Motion of Perplexity AI, Inc. seeking the admission pro hac vice of Zachary C. Flood (ECF No.

___), and the Declaration of Zachary C. Flood submitted in support of the Motion;

       IT IS HEREBY ORDERED that the Motion is GRANTED.



                                            ________________________________
                                            Hon. Amit P. Mehta
                                            United States District Judge
